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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

                     Case No. 21-cv-20862-BLOOM/Otazo-Reyes

  MILLENNIUM FUNDING, INC.,
  a Nevada corporation, et al.,
           Plaintiffs,

  v.

  1701 MANAGEMENT LLC d/b/a
  LIQUIDVPN, a Puerto Rico limited
  liability company, et. al.,

           Defendants.
                                         /

                    REPORT AND RECOMMENDATION RE: D.E. 459

          THIS CAUSE came before the Court upon Plaintiffs MILLENNIUM FUNDING, INC.,

  VOLTAGE HOLDINGS, LLC, AMBI DISTRIBUTION CORP., AFTER PRODUCTIONS,

  LLC, AFTER II MOVIE, LLC, MORGAN CREEK PRODUCTIONS, INC., MILLENNIUM

  FUNDING, INC., BEDEVILED LLC, MILLENNIUM MEDIA, INC., COLOSSAL MOVIE

  PRODUCTIONS, LLC, YAR PRODUCTIONS, INC., FSMQ FILM, LLC, FW PRODUCTIONS,

  LLC, MILLENNIUM IP, INC., I AM WRATH PRODUCTION, INC., KILLING LINK

  DISTRIBUTION, LLC, 2 BADHOUSE STUDIOS, LLC, LF2 PRODUCTIONS, INC., LHF

  PRODUCTIONS, INC., VENICE PI, LLC, RAMBO V PRODUCTIONS, INC., RUPTURE CAL,

  INC., MON, LLC, SF FILM, LLC, SPEED KILLS PRODUCTIONS, INC., MILLENNIUM IP,

  INC.,   NIKOLA     PRODUCTIONS,     INC.,   WONDER    ONE,    LLC,   BODYGUARD

  PRODUCTIONS, INC., OUTPOST PRODUCTIONS, INC., GLACIER FILMS 1, LLC,

  DEFINITION DELAWARE LLC, HANNIBAL CLASSICS INC., JUSTICE EVERYWHERE

  PRODUCTIONS LLC, STATE OF THE UNION DISTRIBUTION AND COLLECTIONS, LLC,
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  PARADOX       STUDIOS,      LLC,    DALLAS       BUYERS       CLUB,      LLC,   HITMAN       TWO

  PRODUCTIONS, INC., SCREEN MEDIA VENTURES, LLC and 42 VENTURES, LLC’s

  (collectively, “Plaintiffs”) Motion for Order to Show Cause Why Plaintiffs should not be granted

  Final Default Judgment against Garnishees Jan Dash (“Dash”), Grant Thornton (“Thornton”), F.A.

  Hayek Irrevocable Settlement Trust (“F.A. Hayek”), Southpac Trust Limited (“Southpac”), and

  Southpac Trust Nevis Limited (“Southpac Nevis”) (collectively, “Garnishees”) for the judgment

  amount of $15,172,403.00 (hereafter, “Motion for Final Default Judgment”) [D.E. 459]. This

  matter was referred to the undersigned pursuant to 28 U.S.C. § 636 by the Honorable Beth Bloom,

  United States District Judge [D.E. 432]. The undersigned held a hearing on this matter on May

  12, 2023 (hereafter, “Show Cause Hearing”), pursuant to the undersigned’s Order Setting Show

  Cause Hearing [D.E. 460]. Garnishees received notice of the Show Cause Hearing, see Certificate

  of Service [D.E. 461], but failed to appear at the Show Cause Hearing.

         Based on the foregoing and upon a review of the record, the undersigned respectfully

  recommends that Plaintiffs’ Motion for Final Default Judgment [D.E. 459] be GRANTED and that

  Final Default Judgment of Garnishment be entered in the form attached hereto.

         Plaintiffs shall serve a copy of this Report and Recommendation on Garnishees and shall

  file proof of service. Pursuant to Local Magistrate Judge Rule 4(b), the parties have fourteen days

  from the date of this Report and Recommendation to file written objections, if any, with the

  Honorable Beth Bloom, United States District Judge. Failure to timely file objections shall bar the

  parties from attacking on appeal the factual findings contained herein. See Resolution Tr. Corp.

  v. Hallmark Builders, Inc., 996 F.2d 1144, 1149 (11th Cir. 1993). Further, “failure to object in

  accordance with the provisions of [28 U.S.C.] § 636(b)(1) waives the right to challenge on appeal



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  the district court’s order based on unobjected-to factual and legal conclusions.” See 11th Cir. R.

  3-1 (I.O.P.- 3).

          RESPECTFULLY SUBMITTED in Miami, Florida, this 12th day of May, 2023.



                                               ___________________________________
                                               ALICIA M. OTAZO-REYES
                                               UNITED STATES MAGISTRATE JUDGE

  Copies via CM/ECF to:

  United States District Judge Beth Bloom

  Counsel of Record

  Garnishees served by Plaintiffs as instructed herein

  Charles Muszynski, pro se
  P.O. Box 1423
  Basseterre, St. Kitts




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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                    Case No. 21-cv-20862-BLOOM/Otazo-Reyes

  MILLENNIUM FUNDING, INC.,
  a Nevada corporation, et al.,
           Plaintiffs,

  v.

  1701 MANAGEMENT LLC d/b/a
  LIQUIDVPN, a Puerto Rico limited
  liability company, et. al.,

          Defendants.
                                          /

                  FINAL DEFAULT JUDGMENT OF GARNISHMENT
        It is ORDERED AND ADJUDGED that, pursuant to Fla. Stat. §§77.06(1) and 77.081(2)

  and Rule 58 of the Federal Rules of Civil Procedure, FINAL DEFAULT JUDGMENT OF

  GARNISHMENT is hereby ENTERED in favor of Plaintiffs MILLENNIUM FUNDING, INC.,

  VOLTAGE HOLDINGS, LLC, AMBI DISTRIBUTION CORP., AFTER PRODUCTIONS,

  LLC, AFTER II MOVIE, LLC, MORGAN CREEK PRODUCTIONS, INC., MILLENNIUM

  FUNDING, INC., BEDEVILED LLC, MILLENNIUM MEDIA, INC., COLOSSAL MOVIE

  PRODUCTIONS, LLC, YAR PRODUCTIONS, INC., FSMQ FILM, LLC, FW PRODUCTIONS,

  LLC, MILLENNIUM IP, INC., I AM WRATH PRODUCTION, INC., KILLING LINK

  DISTRIBUTION, LLC, BADHOUSE STUDIOS, LLC, LF2 PRODUCTIONS, INC., LHF

  PRODUCTIONS, INC., VENICE PI, LLC, RAMBO V PRODUCTIONS, INC., RUPTURE

  CAL, INC., MON, LLC, SF FILM, LLC, SPEED KILLS PRODUCTIONS, INC.

  MILLENNIUM IP, INC., NIKOLA PRODUCTIONS, INC., WONDER ONE, LLC,

  BODYGUARD PRODUCTIONS, INC., OUTPOST PRODUCTIONS, INC., GLACIER FILMS

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  1, LLC, DEFINITION DELAWARE LLC, HANNIBAL CLASSICS INC., JUSTICE

  EVERYWHERE PRODUCTIONS LLC, STATE OF THE UNION DISTRIBUTION AND

  COLLECTIONS, LLC, PARADOX STUDIOS, LLC, DALLAS BUYERS CLUB, LLC,

  HITMAN TWO PRODUCTIONS, INC., SCREEN MEDIA VENTURES, LLC and 42

  VENTURES,         LLC   (“Plaintiffs”)   and against Garnishees    JAN DASH, GRANT

  THORNTON, F.A. HAYEK IRREV. SETTLEMENT TRUST, SOUTHPAC TRUST LIMITED

  AND SOUTHPAC TRUST NEVIS LIMITED, jointly and severally, in the amount of

  $15,172,403.00.

           DONE AND ORDERED in Miami, Florida, this         day of                 , 2023.


                                              __________________________________
                                              BETH BLOOM
                                              UNITED STATES DISTRICT JUDGE

  Copies to:

  Counsel of record

  Charles Muszynski
  P.O. Box 1423
  Basseterre, St. Kitts




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